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 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                            2:15-CR-00118-GEB
13                  Plaintiff,
                                                          FINAL ORDER OF FORFEITURE
14          v.
15   MICHAEL DESHONE MATHEWS,
16                  Defendant.
17
            WHEREAS, on February 22, 2016, the Court entered a Preliminary Order of Forfeiture,
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     forfeiting to the United States all right, title, and interest of defendant Michael Deshone Mathews in the
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     following property:
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                    a.      Approximately $5,724.43 seized from Wells Fargo Bank, Account Number
21                          3779567878;
22                  b.      Approximately $5,206.28 seized from Wells Fargo Bank, Account Number
                            7775589745;
23
                    c.      Approximately $68,020.00 in U.S. Currency seized from Bank of America safe
24                          deposit box number 00269; and
25                  d.      Approximately $7,275.21 seized from Bank of America, Account Number
                            164102778257.
26

27          AND WHEREAS, beginning on May 14, 2016, for at least 30 consecutive days, the United

28 States published notice of the Court’s Order of Forfeiture on the official internet government forfeiture
                                                       1
29                                                                                     Final Order of Forfeiture

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 1 site www.forfeiture.gov. Said published notice advised all third parties of their right to petition the

 2 Court within sixty (60) days from the first day of publication of the notice for a hearing to adjudicate the

 3 validity of their alleged legal interest in the forfeited property;

 4          AND WHEREAS, the Court has been advised that no third party has filed a claim to the subject

 5 property, and the time for any person or entity to file a claim has expired.

 6          Accordingly, it is hereby ORDERED and ADJUDGED:

 7          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America all

 8 right, title, and interest in the above-listed property pursuant to 21 U.S.C. § 853(a), to be disposed of
 9 according to law, including all right, title, and interest of Michael Deshone Mathews.

10          2.      All right, title, and interest in the above-listed property shall vest solely in the name of the

11 United States of America.

12          3.      The U.S. Marshal Service shall maintain custody of and control over the subject property

13 until it is disposed of according to law.

14          SO ORDERED.

15 Dated: July 20, 2016

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29                                                                                        Final Order of Forfeiture

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